    Case 1:04-cv-00798-PLF-GMH Document 1154-1 Filed 04/19/19 Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
        Plaintiff,                             )
                                               )
                            v.                 ) Civil Action No. 1:04-cv-00798-PLF
                                               )
                                               )
ALL ASSETS HELD AT BANK JULIUS                 )
BAER & COMPANY, LTD., GUERNSEY                 )
BRANCH, ACCOUNT NUMBER 121128,                 )
IN THE NAME OF PAVLO                           )
LAZARENKO, LAST VALUED AT                      )
APPROXIMATELY $2 MILLION IN                    )
UNITED STATES DOLLARS, ET AL.,                 )
                                               )
        Defendants.                            )


                      ORDER GRANTING CLAIMANTS’ MOTION TO QUASH

        Having considered the claimants’ motion and the government’s opposition the Court

hereby GRANTS claimants’ motion to quash the government’s subpoenas issued to Eagle Bank,

First Republic Bank, and Goldberg Gluck & Brusilovsky, LLP.

        IT IS SO ORDERED.


This ____ day of _______________, 2019.




                                                 _______________________________
                                                 Hon. Judge Harvey




143753.00601/119129938v.1
